Dr. Kris L. Sperry
2/1/2023
Page 4 of 13
sets of interlinked handcuffs on     , pulling his hands behind his back as he remained
prone. The video does not reveal visual evidence that         was actively resisting the
placement of the handcuffs, and this was later confirmed by Vaught during questioning
by JPSO detectives. Despite no resistance, Pitfield and Vaught failed to roll        to his
side (the “recovery position”) or otherwise monitor his condition.

Other than the word “firetruck,”        made no other intelligible sounds, but made
moaning and groaning sounds. During this entire time,            remained prone with Pitfield
sitting on him, and there was no effort made to either turn         or move him on his side
(the “recovery position”). While        made certain movements while being restrained by
Pitfield, it is my opinion that these movements were not willful, active resistance or
efforts to harm the officers, but behavioral manifestations of his autism and evidence of
oxygen deficiency which was resulting from his continuous and prolonged restraint.
Subsequently, Pitfield stood up and removed himself from           . At this time, there is no
visible evidence or testimony that        offered any struggle or resistance at all when the
deputies made this switch. Despite this fact, the deputies on the scene failed to place
      in the recovery position or otherwise monitor his condition. After Pitfield stood up,
JPSO Deputy Nicholas Vega took his place on            's back, keeping        in a prone
position. At     this point, six JPSO personnel were present,   and      remained prone,
being held in this position by Vega sitting on his back with his hands cuffed behind his
back. A seventh deputy (Myron Gaudet) arrived at the scene.

After switching with Pitfield, Vega is seen in the video to take      ’s cuffed hands and
push them upwards and towards           ’s head, with the effect of pushing        ’s face and
upper body forward and down into the parking lot surface. Detective Mehrtens
confirmed that Vega utilized this procedure to control suspects in his statement.
(Mehrtens Statement, p. 7). Again, at this time, it doesn’t appear that          is offering
any real resistance or danger to the deputies. As previously noted, the actions of
appear to be consistent with the physical manifestation of his SASD and oxygen
deficiency stemming from the prolonged restraint.         ’s arms became hyperextended,
bent forward and upward over his head. This maneuver appears to have caused                     to
react, whereupon   Deputy   Vega  (who was still sitting on      applied   a neck hold,
changing his position such that he appears to be essentially “laying" upon             ’s back.
Vega later told JPSO detectives that he performed a neck hold, “put[ing]J my forearm
right here, underneath his chin to try to maintain some control and to keep him from
hitting his head and doing anything else.” What Vega is describing is a so-called
“forearm bar” hold from behind. The physical findings at autopsy confirm that Vega
utilized a “forearm bar” choke hold which significantly impacted         ’s airway and ability
to breathe. Vega remained in this position and with his arm around            's neck until




                     Sperry Forensic Pathology Consultants, Inc.
                               2194 Bear Creek Road
                              Moreland, Georgia 30259
                             Telephone: (770) 252-2002
                      e-mail Dr. Sperry: stiffdoc@bellsouth.net
